Case 6:18-CV-OOO73-PGB-TBS Document 14 Filed 03/06/18 Page 1 of 2 Page|D 65

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IN THE UNITED STATES DISTRICT COURYUMRH% AH 9. 50
MIDDLE DISTRICT OF FLORIDA, '
ORLANDO DIVISION ' 5'1'\»'£1' CUURI

TIM FOOTE,

Phintii
v.
TRANS UNION LLC;
CONT[NENTAL SERVICE
GROUP, INC., d/b/a
CONSERVE,

Deli-:ndants.

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or<LAHi)frl)l FL%F;BA FL°R*UA

Civil Action No. 6:18-cv-73-ORL-40-TBS

Demand for trial by jury

CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the NOTICE OF PENDANCY OF
OTHER ACT.[ONS was rmiled today by first class mail on the service list indicated below.

1. Pau| W. She|don
Strasburger & Price, LLP

Atz‘omeys for Defendant Trans Union LLC
2600 Da||as Parkway, Suite 600

Frisco, Texas, 75034

Date: Mawc'l` 'z'} 1013

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TIM FOO"[E, Plaintif£ Pro se

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Case 6:18-CV-OOO73-PGB-TBS Document 14 Filed 03/06/18 Page 2 of 2 Page|D 66

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MIDDLE DISTRICT oF FLoRIDA, ; ._ AH 9.~ 50
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Plaimim §
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TRANS UNION LLC; §
CoNnNENTAL sERvICE § civil Action No. 6:18-¢v-73-0RL40-TBS
GRoUP, INC., d/b/a §
coNsER\/E, §
§ Demand for trial by jury
Defendants. §

CERTIFICATE OF SERVICE

Ihereby certify that a true and correct copy of the RELATED CASE ORDER AND
'I`RACK TWO NOTICE and the CASE MANAGEMENT REPORT (a]l documents with all
attachments: 16 pages total) was mailed today by first class mail on the service list indicated
below.

1 . Paul W. She|don

Strasburger & Price, LLP

Attomeys for Defendant Trans Union LLC
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Frisco, Texas, 75034

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